LAW OFFICES OF TIMOTHY P. ]OHNSON

` Case

,_.i

\ [\))-l)-l)_\)--\)-a»-l»-l»-a»-a»-A
§§YS)\§§BREO©QO\)Q\@.¢>wN»-\o

KDOO\]O\UI-I>L)J[\J

2

 

 

:12-cV-O4814-.]FW-E Document 1 Filed 06/01/12 Page 1 of 20 Page |D #:41

titan
Tn/ioTHY P. JoHNsoN (BAR No. 66333) §
LAW GFFICES OF TIMOTHY P. JOH_NS ON ,
1970 OLD TUsT]N AVENUE, SECoND FLooR v __ z ,
SANTA,ANA, CALrFoRNiA 92705 , 1 29 Z…U l FH 2 22
TELEPHONE: (714) 832-1170 - ` _ Cé§§‘§§‘§f §‘§TRSFTC*}OLL{F T
FAcslMtLE: (714) 832-1179, LOS "~HGELE»">

E-MA]L: tjohnson@johnson-chambers.com

 

Attorneys for Defendant LTD Financial Services, L.P.

UNITED STATES DISTRICT CGURT

FOR TI-]E CENTRAL DISTRICT OF CALIFORNIA

EDWARD KEsHlsHYAN case NO@ § 12 il 3 1 ll :75@
Piaimifr ' [J:z>

` VS- NoTICE oF REMoVAL
LTD FINANCIAL sERvICEs, L.P.

Defendant.

 

 

TO THE CLERK GF THE ABOVE-ENTITLED COURT:

PLEASE TAKE NOTICE that Defendant LTD Financial Services, L.P.

hereby removes to this Court the state court action described beloW:

1. On May 14, 2012, a complaint Was filed against Defendant LTD

4 " Financiai 'Servi`c"es,` L.P§ "`By' 'Pi'ai'riti'ff EdWard Keshlshyan ‘in"an"action p ending in "the` `

Superior Court of the State of California in and for the County of Los Angeles,

entitled, Keshishyan v. LTD Fz'nancz`al Servz`ces, L.P., Case No. 12A04044. A copy

_1 _
NOTICE OF REMOVAL

 

LAW OFFICES oF TIMOTHY P. JOHNSON

<' Case

\]O\Ul-¥-\-UJ!\J

10
11
12
13
14
15 0
16
17
18
19
20
21
22
23
24
25

261

27
28

 

.2:12-cv-04814-.]FW-E Document 1 Filed 06/01/12 Page 2 of 20 Page |D #:42

of the state court complaint (“complaint”) and other papers served on removing
Defendant in the state court action are attached hereto as EXhibit'l.

2. This removal petition is timely under 28 U.S.C. §l446(b) because
removing'Defendant Was served With the summons and complaint on or about May
29, 2012.

.]URISDICTION
v 3. This action is a civil action of Which this Court has original
jurisdiction under 28 U.S.C. §1331 and that may be removed to this Court by
removing Defendant pursuant to the provisions of'28 U.S.C. § 1441(b) in that the
complaint seeks damages based upon violations of the Fair Debt Collection Practices
Act, 15 U.s.C. §§1692 er Seq. k
VENUE

4. The complaint Was filed in the Superior Court of the State of
California, County of Los Angeles. Therefore, venue in the Central District is proper.
28 U.S.C. §1441 (providing for removal"‘to the district court of the United States for

the district and division embracing the place” Where the state court action is pending).

Dated: May 30, 2012 LAW oFFICEs oF TrM`oTHY P. JoHNsoN

Un>§

TIMO"~T\/ H“YE’P. JOHNSON
Attomeys for Defendant LTD Financial
Services, L.P.

NOTICE OF REMOVAL

 

 

~ " Case 2:12-cv-04814-.]FW-E Document 1 Filed 06/01/12 .Page 3 of 20 Page |D #:43

EXHIB|T_"’E"' `

 

` Gase 2:12-cv-04814-.]FW-E Document 1. Filed 06/01/12 Page 4 of 20 Page lD #:44

 

SUM-100

(C'T§»Cl-;glhl,\/IJ%§%AL) y . arssa"r;o":§rrsta

NOTlCE TO DEFEN DANT: ~

(AVISO rilL DEMANDADO). . CONEUB_MED COP!
LTD FINANCIAL SERVICES, L.P. . ' @~ya 6 §§GH.]ALFE'EB

. . Lo_< Ano»=l»< (`nrrrrt\' S\Jr't=t'im' Court
YOU AR'§ BE|N SUED B‘r’ PLAlNTlFF: ` . y{yplry; 1 [,y _zmz
'(LO ESTA DEMANDANDO EL DEMANDANTE): ' ` " , ' “

1513er KESHISHYAN » ‘ ’ 10111111. clara executive 01111:11 cert

 

 

NDTlCEl You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.

You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or ph one call will not protect you Your written response must be' rn proper legal form il you want the court to hear your
case. There may be a court forrrl that you can use for your response. You can find these court forms and more information al the California Courts
Online Self-He|p Center (www.courtinfo.ca.gov/se/l?relp), your county law library, or the courthouse nearest you, lf you cannot pay the filing fee, ask`
the court clerk for a fee waiver form. lf you do not frle your response on time, you may lose the case by default, and your wages, money, and property ‘
may be taken without further warning from the court.

There are other legal requirements You may` want to call an attorney right away. |f you do not know an attorney. you may want to callan attorney
referral servioe. lf you cannot afford an attomey, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the Califomla Legal Services Web site (www.lawhelpcalifomr`a.D/’g)..the California Cou rts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: `l'he court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10 000 or more in a civil case. The courl's lien must be paid before the court will dismiss the case.
[AVISOI Lo hen demandado. Sr' no responde denno de 30 dlas, la code puede decidir en su contra sin escuchar su version Lea la informacion a
continuaclon.

Trene 30 D/AS DE CALENDARIO después de que le entreguen esla cltacf'dn ypapeles legales para presenlar una respuesta porescrito en esla
cone yhacer que se enfregue una copia al demandanr‘e. Una carta o una llamada te/efénica no lo prolegen. Su respuesfa por escn'lo tiene que eslar
en formato leg'al comecto si desea qu`e proceserr su caso en la corte. Es posible que haya un for'mulario que usled pueda usar para su respuesfa.
Puede encontrar estes formulan`os dela corte y mas informacion en el Centro de Ayuda de las Cortes de Ca/ifomla (www. sucorle. ca. gov) en la
bib/foleca de leyes de su condado o en la corte que le quede més cema. Si no puede pagar la cuola de presen!acr`én, pida al secretano de la corte
que le de un fonnularr`o de exencién de pago de cuotas. Sr' no presenta su respuesta a tiempo, puede perder el caso por 1ncumpl1m1enfo y la corte le
podre quitar su sueldo, dinero y bienes sin mas advertencr`a.

Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamenfe. Sr' no conoco a un abogado, puede llamar a un servicio de
remisién a a_bogados. Si no puede pagar a un abogado es posible que cumpla con los requisites para oblener servicios legales gratuitos de u_n
pmgrama de servicios legales sin Hnes de lucro'. Puede encontrar estos grupos sln lines de lucro en el sitio web de Ca/ifomia Legal Services,
(www,lawhelpcalifomia.org), en el Centro de Ayuda' de las Cortes de Ca/r'fomia, {vnvw.sucorte.ca.gov) o ponr'éndose_ en oonfacto con la corte o el
colegio de abogados locales. AVlSO: Porley, la cone tiene derecho a reclamar las cuotas ylos costos exenfos porimponer un gravamen sobre
cualquier recuperacr'én de $10, 000 6 mas de valorrecl`bida mediant‘e un acuerdo o una concession de arbitraje en un caso de dereclro civil. liene que

'pagar el gravamen de la cone anles de que la carte pueda desechar el caso.

 

 

 

The name and address of the court' rs: v cAsE NuMsER
(El nombre y direcchn dela cone es); Superior Court of Los Angeles '"°""~”°“'°“°’ 1 2 lt f}ly[] ly ly
9425 Penf`eld Avenue

 

 

Chatsworth, CA 913 ll

The name address, and telephone number of plaintiffs attorney, or plaintiff without an attomey,` rs: '
(El nombne la direccién y el numero de teléfono del abogado del demand te, o del demandante qu_e no tiene abogado, es):

Toc_ldM. Friedman 69 S. Doheny Dr.,#415,Beveriy}l1%>yst;\’§ A_ 90211, 877- 206- 4741

DATE: '\l\q'% 13._‘35 ll crerl<, 11ngwa . Dequ
(Fechakl\h\l (Secrelan`o) {Adjunlo)
(For'pmof of Servr`ce of this commons, use Proof of Service of Summons (form POS-O10).)

(Para.prueba de entrega de esta citation use el formulan'o Proof of Service of
NOTICE TO THE PERSDN .SERV
1. _`_l as an individual defe _

 
 
 
 
  
 

 

lsl=_Al.l

   

,LTD Financial Services, L.P.
3_ [X l on behalror specll=y)r

under: ' l CCP 416.10 (corporatron CCP 416.60 (minor)
| l CCP 416 20 (defunct corporation) m CCP 416. 70 (conservatee)
X | CCP 416 40 (associaticn or partnership) |:i CCP 416. 90 (authorized person)

l l other (specify):
4. [:l by personal dellvery on (date):

 

 

 

Page 1 ot 1

Farm Adopled fur Manda'lory Use ' _ Code of Clvll procedure §§ 41120, 455
Judlcial'Counoil of Caltlarnle S UMMONS mmcourtinlo.r:agnv

survHOO tRev. lur1.20091 lAmEn'can warner mc l

 

k(-Ja

se 2:12-cv-04814-.]FW-E Document 1

Todd M. Frredman (216752)
Nicholas J. Bontrager (252114) v
Law Ofiices of'Todd' M.~Fri.edman, P.C.

 

 

 

 

3 369 S. Doheny Dr. #415
seven 111115,' cA$ozrr - ti `.Y 14 2012
4 Phone: 877-206-4741 _ '
.Fax: 866-633-0228 JolmA. Clarxc, t;xccuuve vtlioer/ Cler
5 . _
tfriedman@attorneysforconsumers.com By y , Deputy
6 nbontrager@attorneyst`orccnsumers.com n nmAN
Attorney for Plaintiff
'l
8 SUPERIOR COURT GF THE STATE OF CALIFORNIA
9 FOR THE COU'NTY O_F LGS ANGELES
LIMITED JURISDICTION
10 .
)CaseNo. lzpolloll[l
ll - ) y .
yz . ) COMPLAINT FOR VIOLATION
EDVIN KESHISHYAN, ) GF ROSENTHAL_ FAIR DEBT
`_1_3 ___ _ _ __ ,. _ _ _) __C_OLLECT]ON_ERACILCESACT;
' Plaintiff, ) FEDERAL FAIR DEBT COLLECTION
14 '. ) PRACTICES ACT AND TELEPHoNE
y5 vs. ) CONSUMER.PROTECTION ACT
416 LTD FINANCIAL SERVICES, L.P., ) (Amount not to exceed $10,000) ~
. ) _
" Derendam._ ) y 1. violation oraosenrhal Fair Debt
13 ) Colle_ction Practices Act '
~ ) 2. Violation of Fair Debt Col]ection
19 y ) y Practices-Act
20 ) 3. Violation of Telephon_e Consumer
Protection Act `
21
22 ~ l. INTRODUCTI()N
23 l. This is an action for damages brought by an individual consumer for'Del’endant’s
24 violations of the Rosenthal Fair Debt Collection Practices Act, Cal Civ Code §1'788, eti seq.
25 ‘ _ ‘ ~
(hereinafter “RPDCPA”) and the Fair Debt Collection Practices Act, 15 U.S.C. §]692, et seq.
26
27 §hereinafter “PDCPA”) both of which prohibit debt collectors from engaging in abusive, .
28 deceptive, and unfair practices Ancillary to the claims above, Plaintil`t`l further alleges claims

Comp|aint - l

Filed 06/01/12 _Page 5 of 20 Page lD #‘:45

CONH`URMa:u-Com
OF_ ORIGE~JAL FH,ED

T.os Aner.les Cnrmr\' Srrr.~erim Com‘t

 

 

' Case 2:12-cv-O4814-JFW-E Doc_ument`l Filed 06/01/12 Page 6 of 20 Page |D #:46
il _ 4 ~_

l for Defendant’s.violations of the Telephone Consumer Protection Act., 47 U.S.C. §227, et seq.
(hereinaaer'“'rcPA”).
H. PARTIES

2. Plaintiff, Edvin Keshishyan (“Plaintift”),»is a natural person residing in Los
6 Angeles county in the state of Calii`omia and is a “consumer” as defined.by the FDCPA, l$
7 n U.S.C. §16923(3) and is a “debtor” as defined by Cal Civ Code §1788,2(11).

3. At all relevant times _herein, 'Defendant, LTD Financial Services, LP.
10 (“Defendant”), was a company engaged, by use of the mails land telephone, in the business of .

ll collecting a'debt from Plaintiff which qualifies as a “debt,” as defined by l$ U.S.C. §lG§Za(S),

12 and a “consumer debt, ” as defined by Cal Civ Code §1788. Z(f). Defendant regularly attempts

13 to collect debts alleged to be due another, and therefore is a “debt collector” as defined by the
14 FDCPA, 15 U.S.C. §l692a(6), and RPDCPA, Cal Civ Code §1738.2(c). ‘

:: h IIL FACTUAL ALLEGATIONS

17 n 4. At various and multiple times prior to the filing of the instant complaint,'

_ 18 including within the one year preceding the filing of this complaint, Defendant contacted

Plaintiff in an attempt to collect alleged outstanding debts. '

20 . '

' 5. In its attempts to contact and communicate with Plaintiff, Defendant often used
21 '
22 an auto~dia|ing system to call Plaintiff’ s personal cellular phone (818) 515-0001 and further

23 used pre-recorded messages utilizing an artilicial voice to leave messages on Plaintifi"s

24 personal cellular phone,
25_ `6. . ' Defendant contacted Plaintiff at (8] 8) 353-2629 in connection with an attempt
:: to collect an alleged debt that does not belong to Plaintiff. _

' 28

Complaint -» 2

 

 

 

 

' Case 2:12-cv-04814-.]FW-E Document 1 Filed 06/01/12 Page 7 of 20 Page |D #:47

' ` 7. ' Defendant contacted Plaintiff at (8l 8) 353-2629 with such a frequency as to
constitute harassment under the circumstances, including calling multiple times per day.
3. l D€f€`:l 1‘c`ud 111 COrii3C1CCi PlEtli`nlu 3{1 lo cl g) 353-2629 al illi`l€S and places lhal W€r€

5 known to be inconvenient, including but not limited to, multiple calls per day and calling on 1

6 debt thai does not betng 10 Piaimifr.

7 9. - Det`endant’ s conduct violated the FDCPA and the RFDCPA 1n multiple ways,
8
including but not limited to:
9
g a) Communicating with Plaintiff at times or places which were
m known or should have been known to be inconvenient for
ll Plaintiff (§1692c(a)(l));
12 . b) Engaging in conduct the natural consequence of which is to
» harass, oppress, or abuse Plaintiff (§l692d)), including, but not
n limited to, repeatedly contacting Plaintiff m attempt to collect a
14 _ debt;
15 " 4 c) Causing Plaintiffs telephone to ring repeatedly or continuously
16 with intent to harass, annoy or abuse Plaintiff (§1692d(5)),
including, but not limited to, calling Plaintiff more than twice a
17 4 day_, more than ten times a week, and more than twenty times a
'mon_th;
l8 _ -
19 1 d) Causing a telephone to ring repeatedly or continuously to annoy
Plaintiff (Cal Civ Code §1788. ll(d)), including, but not limited '
10 to, calling Plaintiff more than twice a day, more than ten times a
' week, and more than twenty times a month; and
21
22 ` e) Communicating, by telephone or in person, with Plaintiff with
such frequency as to be unreasonable and to constitute an _
23 _ harassment to Plaintiff under the circumstances (Cal Civ Code
. §1788. ll(e)), including, but not limited to, calling Pla1nt1ff more
24 than twice a day, more than ten times a week, and more than - ~
25 twenty times a month.
26 . _ g . '
7 ’lO. Defendant’s conduct violated the TCPA by§
2 _
28 a) Using any automatic telephone dialing system or an artificial or pre~recorded

voice to any telephone number assigned to a paging service, cellular telephone

.Complain\ - 3

 

 

 

 

` Gase 2:12-cv-04814-.]FW-E D.ocument 1 Filed 06/01/12 Page 8 of 20 Page |D_#:48

l _ service, specialized mobile radio service, or other radio common carrier service,
or any service for which the called party is charged for the call (47 USC
§227(b)(A)(iii))

11. ns a tasott or tila aoova~ violations or tna rocra, RFDCPA, and rcl>A,

5 Plaintiff suffered and continues to suffer 1njury to Plaintiff’s feelings, personal humiliation,

6 embarrassment mental angulsh and emotional distress, and Defendant 1s liable to Plaintiff for

 

 

7 PlaintifF-s actual damages, statutory damages, and costs and attorney’ s fees.
g _
9 - . CoUNT I= vrot,ArloN oF 'RosENT`HAL _
10 _ FAIR DEBT COLLECTION PRACTICES ACT
ll - lZ. Plaintiff reincorporates by reference all of the preceding paragraphs .
12_ - ' 13. To the extent that Defendant’s actions, counted above, violated_the RFDCPA,
' 13 those actions Were done knowingly and willfully.
14 v PRAYER FOR RELIEF
:: WHEREFORE, Plaintiff respectfully prays thatjudgment be entered against Defendant

17 for the following:

 

 

13 Declaratoryjudgment that Defendant’s conduct violated`the RFDCPA;
19 B. i Actual damages;
20 C. statutory damages for willful and negligent violations
_ 21 D. Costs and-reasonable attomey’s fees,
22 _ E. - For such other and further relief as may be just and proper.
23 . 1
q ` COUNT II: VIOLATION .OF FAIR DEBT
, 24 - 4 ~ . COLLECTION PRACTICES ACT
25 l4. ~ Plaintiff reincorporates by reference all of the preceding paragraphs
26 '
PRAYER FOR RELIEF
27
-28_ WHEREFORE, Plaintil`f respectfully prays that judgment be entered against Defendant

for the following:

Complaint ~ 4

 

 

 

 

20

Zl

22

23

14

25

26'

27

28

` Cas;e 2:12-cv-04814-.]FW-E Document_l Filed 06/01/12 Page 9 of 20 Page |D

A. Declaratory judgment that Defendant’s conduct violated the F.DCPA;
B. Actual damages;
v C. Statutory damages;
D. Costs and reasonable attomey’s fees; and, _
E. For such other and further relief as may be just and proper.

COUNT III: VIOLATION OF TELEPHONE CONSUMER
~ PROTECTION ACT

-15. _Plaintiff reincorporates by reference all of the preceding paragraphs
. 16. To the extent that Defendant’s actions, counted above, violated the TCPA, those
actions were done knowingly and willfully l
l PRAYER FOR RELIEF

'WHE'REFOR_E, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:

A. Declaratory| judgment that Defendant_’s'conduct violated the TCPA;

- Actual damages;
Statutory damages for willful and negligent violations;

Costs and reasonable attorney’s fees,

FH.U.O'FU

For such other and further relief as may be just and proper.

PLAIN_TIFF HEREBY REOUESTS-A TRlAL BY JURY

 

Attom_e s for Plaintiff

Complaint ~ 5

 

 

 

#`249

‘ Case 2:12-cv-O4814-.]FW-E Document 1 Filed 06/01/12 Page 10 of 20~ Page ll #:50

_'~
\

 

 

SHORT ?li"LE', . CASE NUMBER

Edvrn Kesmshyan v. tro 1=1NA1101AL sERv1cEs, L.P. 4 1 2 ll ii 11 B 11 lt

 

 

ClVl'L CASE COVER SHEET ADDENDUNI AND
STATEN|ENT OF LOCAT|ON
(CERTlFlCATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCAT|ON)

 

 

 

This rorm is required pursuant to Locai Ruie 253 in ail new civil case/,t'iiin'gs in the Los Angeles Superior Court.

 

item l. Checi< the types of hearing and ftll' rn the estimated length oth ring expected for this case:
JuRY TRtAL? m res cLAss AcTroN? i:i yes L1MrrEo cAsE? Es TrME ESTIMATED FOR TRtAL 2-4 l:l HouRs/ lZl DAYS

|tem ll. |ndicate'the correct district and courthouse location (4 steps - lf you checked “Limited Case", skip to |tem llt, Pg. 4):`

Step 12 After tirst completing the Civil Case Cover Sheet form, f1nd the main Civil Case Cover Sheet heading for your
case in the left margin be!ow, and, to the right in Column A, the Civil Case Cover Sheet case type you selected

Sfep 2: Check oLe Superior Court type of action in Column B below which best describes the nature of this case.

Sfep_ 3: in Column C, circle the reason for the court location choice that applies to the type ot action you have
checked For any exception to the court location, see Local Rule 2. 0.

 

 

Applicable Reasons for Chooslng Courthouse Location (see Column C below)

 

 

1. Class actions must be med 1n the Stanley Mosk Courthouse, central district 6. Location of property_ or permanently garaged vehicte.

2. May be tiled' 1n central (other county, or no bodily injury/property damage). 7. Location where petitioner resides.

3. Localion where cause ot_ action arose. 8. Location wherein detendantlres ondent functions wholly.
4. Location where bodiiy' 1njury, death or dama e occurred 9. Location where one or more of arties reside

5. Location where performance required or de endant resides ' 10. Location ct Labor CommissionerO roe

Step 4: Fill in the information requested on page~4 in |tem lll; complete |tem lV. Sign the declaration

 

 

 

 

 

 

 

 

 

 

 

 

 

 

'.`,`; .~- ' A . '_-',-" '.:' . \ ._ . ' =.~ . ..'_ __ _. _:‘B . _ :` _ l .' _ 1 ~.::_4 ~, ,:\'- '. .l _ .. C_: - ’
Civil Case Cover Sheet ' '- - Type_ot Aclion, ' _ . Applicable Reasons -
.» :.; _’Category No._ _: =~.'. -_ . 1. ' . (§heck only one) _: _-: ' 5 ` ' .'_See Slep`S‘Above'
o t Aulo(22) El A7100 Motorvehicle-Personal injury/Propeny Damag`e/WrongfulDeath ~ 1.,2.. 4.
§ o v `
}_ . .
4 _Uninsured Motorist (46) ill A7110 Personat lr\jury/Property DamageNVrongtul Death - Uninsured Motorisl 1., 2., 4.
' l] .A6070 Asbeslos F‘ropefty Dam e ' 2.
Asbeslos (04) ag ~
_€ t - ~ l;l A7221 Asb,eslos »Personal tnj'ury/Wrongful Death 4 2._
m 0 - v .
§ z ProductLiability (24) . E| A72l50 Producl Llability (not asbestos or toxic/environmental) 1.` 2., 3., 4., B.
o. iii ` '
~` O .
§ 9 _ _ _ t:l A721o Medtca1 Marprat:lr¢e-Physr¢ians asurgenns~ ' 1., 4_
'E~ 3 MedlcalMalpractrce (45) , _ .
: 31 l U A7240.0lherProtessiona1 Health Care Malprachce 1_,4,
m o .
c h-
0
g § U A7250 Premises Liebilily(e.,g. slip and fall) 1
Othe -.
% § personal injury El A7230 intentional Bodily lnjury/Property DamagelWrongfulDeath (e. g , ' 1
§ g Pmpeny Damage 4 assault vandalism, etc) "
Wmn§i;u€i)oeam m A7270 '"le“l\°nal lnfliction of Emolional Dislress » ' 1" 3'
IJ A7220 other Personal injury/Property Damage/Wrongful Death 1" 4'
LAC1v109(Rev. 03/11) ClVlL CASE COVER SHEET ADDENDUN| ~ Loca| Rule 2.0

1_Asc Approved 03-04 ‘ ` _ AN`D STA-TEMENT OF LOCATION 4 Page1 of4'

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

` Case 2:12-cv-O4814-.]FW-E Document 1 Filed 06/01/12 Page 11 of 20 Page lD #:51
sHORTnTLE; cAsE NuMaeR
Edvin Keshishyan v. LTD FlNANClAL SERV|CES, L.P.
.__. _. ..1 _. .‘. ~ .. .' 1 .‘_.-_
A ' B . -C .
Civit Case Cover Sheet Type of Actlon \`Applicable_Reasons -
Category No._*' (Check ohly one) Sea StepSAbov_e~
BusinessTort(07) ij A6029 OtherCommercial/Business Tort (nol fraud/breach of eontract) .1.,3.'
et '
o
g"" Civi|Rights(DS) El A6005 CivilRightleiscriminalion 1.,2.,3._
o .-"-'..
\-
n- ¢U
53 oeramation 1131 n Aeoio oeramatron(sendermber) 1.,2.,3.
:1 3 '
'E"En
§ § Fraud(16) El A6013 Fraud(no contract) 1.,2..3.
r: " '
o §
§a ' . ~ »t_‘1 Aeo17 Lega1 Matpracuce 1.,2.,3.
n_ S° ProfessionalNegligence(25) j _
v,': E El .A6050 Other Professional Malpr'aclrce (not medical or legai) 1.,2.,3.
§ 3 . v _ , 1
Other(35) lZl A6025 Other Non-Personal lnjury/Property Damage tort 2..3.
§ . WrcngfulTermina_tion(SS) Cl AS_O37 l/VrongfulTennination 1_, 2.3.
E .
2 ' ' El A6024 OtherEmploymentComplaintCase 1.,2..3.
§ Other Employment (15) .
m El A6109 LaborCommissionerAppeals 10.
l’_'l ASDtid Breach ofRental/LeaseConlract (notunlawlul detainer orwrongful
. . . . 2..5.
evrctron)
Beacho ot Wrran ' ' f '
r _ fc(?}é?w a tv U ASOOB Contr_act/Warranty Breach-Se|lerF'laintiff(no fraud/negligence) 2"5'
("°"`"5""'1"°9) cr items Negugentereach orcontraaA/vananty(norraud) 1~' 2-- 5-
ij A6028 Other Bre_ach ofContract/Warranty(notfraud ornegligence) 1"2"5'
H .
§ 1:1 Asooz corrections casesener P1ain11rr 2.,5.,6.
'E Col|ections (09) _ _
8 » El A6012 OtherPromrssory NotelCollectrons Case- 2.,5.
insurance Coverage(tB) Ci _ASGl$ lnsutance(_`,overage(notcomplex) 1‘.,2.,5.,8.
El AGOOQ ContractualFraud 1.,2.,3.,5_
OtherContract(37) ll A6031 Tortious interference 1.,2.,3._5.
El A6027 OtherContractDispule(notbreach/insurance/l`raud/negligence) 4 1.,2.,3.,8.
EminentDomain/lnverse . . . _
Condemnauon (14) C| A73OO EmrnentDomamlCondemnatron_ ' Numberofparcels 2.
§ ’ WrongfulEviction(33) El A6023 WrongfulEviction Case 2..6.
o .
§§ , `Cl A6018 Mortgage Foreclosure 2,,6.
m ' .
115 Other RealProperty(ZS) Cl A6032 CluietTitle ,,6_
' U A6060 OtherRealProperty(noteminentdomain,landlord/tenantforeclosure) .,6
__ U"‘a‘”'“’De'j§‘f)"°°mme'°la' 1:1 Aeo:>_i untawtur oelainer-Commerciar (no1 drugs or wrongrurevicrion) 2.,6.
f: .
§ Un'awf“lDet?:;'§;r'Res‘de"t.'a' El A6020 Untawtul Detainer-Resideritial (notdrugs or wrongful eviction) 2._6.
'5 .
UnlawlulDetainer~ . . '
§ Posl¥o[edosure(w 1:1 Aet)zor=unlamutoeelner_eost-Foredosure 2..6_
c .
:: ' . .
UnlawfulDelainer-Dn.rgs (38) El A6022 UnlawfulDelainer-Drugs 2.,6.
LAc1v109(Rev_03/11) ClVlL CASE COVER SHEET ADDENDUM Local Rute 2.0

LASC Approved 03-04

AND STATEMENT OF LOCAT|ON

Page 2 of 4

 

ri

t Gase_2:12-cv-O4814-.]FW-E Document 1 Filed 06/01/12 Page 12 of 20

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

STATEMENT OF LOCAT|ON

Page |D #:52
sHoRTTm.E: ' cAsE NuMaEn
Edvin Keshishyan v. LTD FINANC|AL SERV|CES,~ L.P.
.` _ A - ,;.___B- .. _C _
'Civil Case Cover SHeet Type' ofActiori . App|lcable`Beasons-
Calégory No. ` ’ (Chegk on{y c_)ne) See Sle_q 3 Above_
Assel Forfeiture (05) El A6108 Assel Forfeitur,e Ca_se 2... 5-
§ Pemion fe Arbitration (1`1) U A6115` Pe!ition lo CompeL/C onflrm/Vaca!e Arbit}a\ion 2.. 5.
._>. . _ .
m
§ , D A6151 Wri! -Adminis\ralive Mandamus z 2.. B.
N .
§ Wn'l 01 Mandale (02) E A6152 Wth - Mandamus pn Limiled Coud Case Matter 2.
31 E A6153 Wn'l - Other Limiled Court Case Review ' 2.
Other Judicia\ Review (39) E| A6150 OtherWrit lJudicial Review 2., 8
¢ Anmrusr/rrade Reguxauon (03)' m Asooa Aminusurrade Regu\arion 1,2.. a.
.9 -
m .
._E’._,’ Construciion Defeci (10) D ASOO'I Construdion Defecl 1., 2., 3
'..'J . ` '
x . ¢
§ Cla‘ms mv°;:g)g Mass T°n CI ABODG Claims |nvo!ving.Mass Tor1 1., 2.. 8
§ ,
g Securilies L'nigalion (28) D A6035 Securi!ies Liiigalion Case 1., 2., B
5
= Toxic.Torl _ ' . .
§ Envimnmema‘ (30) El A6036 Toxxc Tort/Envlronmenfal 1., 2., 3., B.
> _
o _ ,
'~ lnsurance Coverage Clalms - . . ' .
fi- Efmm C°mp‘ex ease (41) E| A6014 lnsurance Coverage/Subroga!¢on (complex case only) 1., 2.. 5., B.
* C_l A5141 Sisler State Judgmen\ 2., 9. '
§ §. U A6160 Abs!ract of Judgment 2., 5.
§ § Em-omemem Cl A5107 Confession ofJudgmen!(non-domeslic relations) 2.. 9.
§ g °fJudgm?"t (20) E A614O Administra!ive Agency Award (no\ unpaid taxes) 2., 8.
c q_ .
lu 0 El A6114 Petilion/Ceninca\e for En\ry of Judgment on Unpaid Tax 2.. B.
D A6112 O!her Enforcernent of Judgmen\ Case 2.. 8., 9.
m Rlco (27) cl Asoaa Rackexeering (Rlco) case 1., 2._ s_
§ .‘§
§ § Cl ASOSO ,Declar'a.tory Reliei Only‘ 1., 2.. 8.
N .
§ 8 _ Other Complaims El A6040 |niunc!'rve Relief Only (not domestidharassmen!) 2., 8.
° - Noz S ecined Above) '(42) . - - ~
§ § ( P El A5011 Other Commerc\a| Complaml Case (norHoq/non-complex) 1., 2., 8.
o ij ASGUO Other Civil Comp|ain\,(pon~tori/non-complex) 1., 2., 8,
Pané§\r,serx";gger‘](;';‘lon Cl A6113 Par!nership and Corporale Goverhance C?se 2., 8.
m ‘ n_' A5121 Civi\ Har_assmem 2.. 3., 9.
¢D
§ -_§ U A6123 Workplace Harassmenl 2., 3., 9.
c = .
1 d D . , . .
§ § Other Pemions Cl A6124 El erl~ ependenlAdullAbuse Case 2,3 , 9
g § (Nol Specined Above) Cl A5190 Election Contest ` 2.
"' " 43 ' .
5 o ( ) m As110 Pemion for change emma 2., 7.
E| A6170 Pe!ition for Re|ief from Late Claim Law 2., 3._ 4.. B.
EI A6100 O!her Civi| Pe!ition 2.. 9.
LAclv 109 (Rev. 03/11) ClVlL CASE COVER SHEET ADDENDUM Local Rule 2.0
LAsc Approved 034)4 AND Page 3 of 4

" Gase 2:12-cv-O4814-.]FW-E Docum-ent 1 Filed 06/01/12 Page 13 of 20 Page lD #:53

 

 

sHoRT me ` . cAsF_ Numm=_n '

Edvin Keshishyan v. LTD FlNANClAL SERVl_CES, L.P. .

 

 

 

item lll. Statement of Location: Enter the address ofthe accident1 party's residence or place of business, performance or_~other
circumstance indicated in lte’m~ll.l St€p 3 on Page 1, as the proper reason for Eling in the court location you selected

 

ADDRESS'.
REASON: Check the appropriate boxes for the numbers shown 10725 Tinker Ave_
under Column C forthe type of action that you have selected for .
this case.

1:31. 1:12. l3.1:14. 1:15. 1:16. mr me 1:19.'1;110.

 

 

cirY: w srAre~ 21Pcoo1=.; ‘
Tujunga ~ ~ CA 91042

 

 

 

 

 

ltem lV. Declaration of Assignment l declare under penalty of perjury under'the taws of the State of California that the foregoing is true
and correct and that the above-entitled matter is properly f led for assignment to the Chatsw°nh courthouse in the
North Va"ey Distn'ct of the Superior Court of California, County of Los Ange|es lCode Civ Proc § 392 et seq. and Local
' Ru1e 2. 0 subds. (b), (c) and (d)].

Dated: AP\`" 30. 2012 b d . A /

(sicy(r'uae 01= ArroRNEY/Fiune PARTY)

PLE_ASE HAVE THE FOLLOW|NG lTEN\S COMPLETED AND READ`t‘l TO BE FlLED lN ORDER TO PROPERLY
v COMMENCE YOUR NEW COURT CASE:

1. On'ginal Complaint or Petition. b _

2 if Hling a Compiaint, a completed Summons form for issuance by the ClerK
31 Civil C_ase Cover Sheet Judicial Council form ClVl-OlO

4

€:iavil Case Cover Sheet Addendum and Statement of Location form LACiV 109.. LASC Approved 03-04 (Rev.
ll 1). _

.‘J"

Paymenl in full of the filing fee unless fees have been waived.

6. A signed order appointan the Guardian ad Litem Judicial Council form ClV- 010, if the plaintiff or petitioner ls a
` minor under 18 years of age will be required by Court 1n order to issue a summons

7. Addltional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
, must be served along with the summons and complaint, or other initiating pleading 1n the case.

 

LAc1v 109 (Rev. 03/1`1) ' ClVlL CASE CQVER SHEET ADDENDUM ~ Local Ruie 2.0
LAsc Approved 0`3-04 AND STATEMEN_T OF LOCATlON Page 4 014

 

 

Case 2.12-c\/- 04814- JFW- E Document 1 Filed 06/01/12 Page 14 of 20 Page lD #: 54

 

 

 

 

 

 

 

 

 

 

 

 

CNI-O'l°
AT\'ORNEY OR PARTY VVtT OUTAT|'ORNEY N Sl t B umbef, d dd 55}' FDRCOURTUSE ONLY
_Tedd 111 Friedrneri' esq son laé"i‘:szai)§’rin shaii,,”e§§ san 251037
Law 01’1" ccs of`Todd M. Friedm`an
369 S Dnhertv T`)r #4}5 '
laeverly Hille;:qu/ozt 1 6 l 066 633 0228 |
ELEPl-tolvs No.: 7-20 -474 ` _ FAX NG~: .o ' ' " ‘ R' mg ‘_ ' ‘ '
A'l'ronhlra/Fonr~ame): Plalntlff, Edvin KeShlShyan CO§:D&§IGINALLR§H:LD)P!
supenlon count 01= cnttFoeNlA, coulm oF Los Angclcs ' 'LM tan,l,.qnm...rt-<.~m».am cast
STREHADDRESS- 9425 Penf` old Avcnue `
MAlLlNG ADDRESS' t - _ J 7
americth cope ChatSWO’t‘tl"t, CA 9131'11 ' M`A`{ 1 4 20 |` _
BRANCH NAME:- ' ~ , . ._
CASE NAME. - . tonn A. blame cxecuuve Ur.ttcct/ Cl€fk _
Edvin Keshtehyan v LTD FtNAthAL SERVICES, L. P 1 . ey__m»_»~ ~D°P“t>'
CN|L CASE COVER SHEET Complex Case Designation _ cASE NUMBER 1 ll
i:lunnmlted -Limlted l:'c t |:'J_d ' 1219¢19'1-
(Amount _ (Amount mm er °m er _,UDGE, `
demanded demanded is Filed with first appearance by defendant '
exceeds $25,000) $25,000 or less) , (Cal. Rules of Coult, rule .':1.402)y DEPT=
ltems 1-6 below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case: - v .
Auto ron Contract _ Provisionatly Co mplex Civil Litlgatton_
Amd~(zz) ~ . . l:| areach ofconr,acma"amy (06) tcel. notes ofcourt, rules 3.400-3.4031
Uninsured motorist (46) l:l Rule 3.740 collections (09) '::| AntitrusUT rode regulation (03)
other PllPorwo tl=ersonel lnjurylProperty t::\ other collectlons (os) l:] Construcllon defect 1101 5
Damagem’°ngfu' Death)T°n insurance coverage (18) |:] MBSS tort (40)
Asbe*°‘.t°$ (°4) other contract 1371 _ l:l securtt‘les titlgatlon (za) 4
product nab“m’ (24)_ . Real Property [:l Environmentat/Toxic tort (30)
Medtcal malpracllce (45) Eminent domain/inverse insurance coverage claims arising from the
Other PllPD/WD (23) ‘ C°ndem“a“°n (14) above listed provisionally complex case
Non-PuPo/wo tother) ron ‘:i Wf°"gf“' eviction (33) types (‘") '
:| Buslness tort/unfair business practlce (07) Other real property (25) Enf°mement of{".udgm_ent
|:t Civil rights (08) 1 b Un|awful Detainer _ [:| Entorcement of judgment (20)
i:] oerametion 1131 t:] Commercial (3.1) lvltscelleneous civil complaint
m Fraud (161 t:l Resirtenltet (32) l:l RK;O (27)
l:| lntellectual property (19) ‘:} D_rUQS,(-'ia) Other complaint (rlol specified abova) (42)
t:i Professlonalnegligence (25) J“di°ia'Re‘/iew Miscollaneous Civil Petltlon
|§/:] Other non-PllPD/WD tort (35) [:‘ ASSE"°"""“'€(°~") . ` Partnershtp end corporate governance 1211
mroymenr l:l Petlllon re: erbrtrelron award 1111 |:1 Othe,pemmn {,,°,S'pec,,red above)(43)
Wrongrul terminallon 1351 . t:l Wn'l ormenclate 1021
other employment 1151 l:l other ludto'el review/1391

 

 

2. This case m ls ill is not complex under rule 3 .400 of the California Rules of Court lfthe case is complex, mark the
factors requiring exceptional judicial management

_a. l:i Large number of separately represented panies d. t:] Large number of witnesses

b. t:i Extensive motion practice raising difficult or novel _ e. t:i Coordination with related actions pending in one or more courts
issues that will be time»consuming to resolve in other counties, states, or countries, or in a federal court
c. \:i Substantial amount of documentary evidence f. l:i Substantial postjudgment.]udicial supervision

. Remedies sought (checi_t all that apply).' a.[_:] monetary b.- nonmonetary; declaratory or injunctive relief C.\:lpunitlve
Number of causes of action (spet:ify).' 3

This case ij is - is not a class action suit. ~ '

|f there are any known related cases file and serve a notice of related case. (You may use form CM-O15. )

Date: May 1,2012

_Todd M Fricdman ‘ ‘ ' . ' § .

(TYPE UR, PRINT NAME) g , (SIGNA]]J=R'E OF FART¥ OR A`I`I'ORNH FOR PARTY)
NOT|CE F

o Plaintiff must f le this cover sheet with the first paper iled ln the action or proceeding (except small c|alms cases or cases filed

under the Proba_te Code Family Code or Welfare and institutions Code). (Cal. Rules of Court rule 3. 220.) Failure to tile may result
in sanctions.

l * Ftle this cover sheet' ln addition to any cover sheet required by local court rule

v lt this case is complex under rule 3. 400 et seq. of the California Rules of Cout_t, you must serve a copy of this cover sheet on all
other parties to the action or proceeding

~ Unless this ls a collections case under rule 3. 740 or a complex case this cover sheet will be used for statistical purposes onlry.

mva

 

 

 

 

1 of 2

Form A¢tepteelro¢ Manda\oey usa Cel. Rutesof Court. rules 2. 30 3 220 3 .400-3. 403_ 3740;
Judidal Council ot Ca£tlomia ` c lV"' CAS E cOvER SHEET - Cal. Slandards nl .ludic'lal Ad'ninislratim, std. 3.10
CM-D‘lD |Rov. July 1_ 2007| www.courlinfo.w.gov

b |Ame.rinanlanalhlm lnn l

` Case 2:12-cv-04814-.]FW-E Document 1 Filed 06/01/12 Page 15 of 20 Page lD #:55

lNSTR|_JCT|ONS ON HOW TO COMPLETE THE COVER SHEET CM.°N
To Plainti'ffs and Others Fillng First Papers. lf you are filing a first paper (for example a complaint) in a civil case you must
complete and file, along with your first paper the Civil Case Cover Sheet contained on page 1. This information will be used to Compile
statistics about the types and numbers of cases fled You must complete items 1 through 6 on the sheet. |ri item 1, you must check '
one box for the case type that best describes the case. lf the case fits both a general and a more specific type of case listed' in item 1
check the more specific one. lf the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheel, examples of the cases that belong under each case type` in item 1 are provided belovv. A cover
~ sheet must be filed only with your initial paper. Fai|ure to file a cover sheet with the first paper filed in a civil case may subject a partyl
its counsel or both _to sanctions under rules 2. 30 and 3. 220 of the California Rules ol Court.

To Partie_s in Rule 3.740 Col|ections Cases. A "collections case" under rule 3_740' is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25. 000 exclusive of interest and attorney' s fees, arising from a transaction in
which property services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages (2) punitive damages, (3) recovery of real property, (4) recovery of personal propeity. or (5) a prejudgment writ of
attachment The identification of a case as a rule 3. 740 collections case on this form means that it will be exempt from the general
timetor-seivice requirements and case management rules unless a defendant files a responsive pleading A rule 3740 collections
case will be subject to the requirements for service and obtaining a judgmenl' in rule 3. 740.

To Parties in Complex Cases. ln complex cases onlyl parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. lf a plaintiff believes the case is complex under mla 3. 400 of the California Rules ot Courtl this must be indicated by .
completing the appropriate boxes in items 1 and 2. lf a plaintiff designates a case as complex the cover sheet must be served with the
complaint on_ all parties to the action. A defendant may file and serve no later than the lime of its first appearance a joinder' in the
plaintiffs designation a counter- -designalion that the case is not complex, or it the plaintiff has made no designation, a designation that

 

the case is complex. .

Auto 'l’ort
Aulo (22)-Personal lnjurylProperty
DamagelWrongful Dealh
Uninsured Molorisl (46) (if the
case involves an uninsured
motorist claim subject lo ~
arbitration check this item
_ instead ofAuto)
' Other PlIPDIWD (Per'sonat lnju ryl
Propeny Damagelwrongl‘ul Death)
Tort
Asbestos~(O¢‘l) .
Asbeslos Property Damage
Asbestos Personal |njuryl
_ Wrongful Dealh
Product Liabltity (nol asbestos or
toxic/enta`lvnmenlal) (24)
Medical Malpractice (45)
Medical Malpraclice-
Physicians 81 Surgeons
Other Professional Health Caie
Malprac_tice
Other Pl/PDNVD (23)
Prernises Liability (e.g.. slip
and fall)

intentional Bodily lnjurylPD/WD~

(e.g.` assault, vandalism)

intentional infliction of
_ Emotional Dislress

Negligenl infliction of

Emolional Dislress
Other P|IP DNVD

Non-PllPD/WIJ (Other) Tort
Business Torl/Unfair Business
Practioe (07)

Civil Rights (e.g.. discrimination,
false arrest) {nof civil
harassment) (08)

Defamation (e.g.1 slander, libel)

(13)

Fraud (1'6)

intellectual Property (19)

Professional Negligence (25)
Legal Malpractice
Other Professional Malpraclice

(not medical or legai)
. Other Non-PllPDNt/D Torl (35)
Employ merit ~
Wrongful Termination (36)
Other Employment (15)

cmtciaev. Jtiiy 1.20071'

CASE TYPES AND EXAMPLES
Contract
Breach ot Conlracl/Warranty (06)
Breach of Renlal/Lease
Contract (not unlawful detainer
or wrongful eviction)
Conlractharranty Breach-Seller
Plaintiff~(nor fraud or negligenoe)
Negligenl Breach ot Contiactl
Warranty ‘
Other Breach of Conlractharranty
Collections (e. g., money owed open
book accounls) (09)
Collection Case-Se||er Plaintiff
Other Promissory NotelColleclions
'Case
insurance Coverage (not provisionally
oomplex) (1B)
Aulo Subrogation
Other Coverage

Other Contract (37) j
Contractual Fraud
Other Contrac_t Dispuie

Real Pro party

Eminenl Domainilnverse
Condemnalion (14)

Wrongful Eviction (33)

Other Real Propeity (e.g.l quiet tille) (26)
Writ of Possession of Real Property
Mortgage Foreclosure
Ouiel Tille
Other Real Property (nol eminent
domain, landlord/tenant or
foreclosura)

' Unlawful Detainer

Commercial (31)

Residenlial (32)

Drugs (38) (if the case involves illegal
drugs, check this ilem; orhemise,
report as Commerci'al or Residential)

Judicial Revlew

Assel Fo`rteiture (05)

Petilion Re: Artzitration Award (11)

Writ of Mandale (02)
Writ-Adminislralive Mandamus
Writ-Mandamus on Limited Court

Case Maller '
Writ-Other Limited Court Case
Review .

Other Judicial Review (39)

Review of Health thcer Order
Nolice of Appeal-l_abor
Commissioner Appeals

ClVlL CASE COVER SHEET

Provisionally Complex Civll thigatlon (Cal.
Rules of Court Rules 3.400-3.403)

Antilrust/Trade Regulalion (03)
Conslruction Defect (10)
Claims involving Mass Ton (40)
Securiti_es Liligation (28)
Environmentalffoxic Toit (30)
insurance Coverage Claims
(ari`sing from provisionally complex
case type listed abova) (41)
Enforcement of .ludgment
Enforcemenl ofJudgmenl (2_0)
Abstrai:t of Judgmenl (Oul of
Count y)
Confession of .ludgmenl (non-
domestic relations)
Sisler Slale Judgmenl
Administralive Agency Award
(not unpaid taxes)
PetilionlCertltication of Enlry of
Judgment on Unpaid Taxes
Otheé Esntorcement ol.ludgmenl
a e '

Mlscellaneous Civil Co mplaint
RlCO (27)
Other Complainl (not specified
above) (42)
Daclaralory Relief Only
injunctive Relief Only (non»
harassment)
Mechanics Lien
Other Commerclal Complaint
Case (non-lort/non-complex)
Other Civil Complaint
(nm-lod/noncomplex)
Miscellaneous Civil Petltion
Partnership and Corporale
Governance (21)
Other Pelition (nol specified
shovel 1431
Civil Harassment
Woricplace Violence
ElderIDependent Adult
Abuse
Election Contest
Petilion for Name Change
Petilion for Reliel From Late
- Clalm
Other Civil Petilion

Page2d2

‘, Case 2:12-cv-04814-.]FW-E Documen_t 1 Filed 06/01/12 _Page 16 0120 Page |D #:56

 

 

 

 

 

 

 

 

175an Reserved for Clert<'s ms Stamp
Su perior Court of Calz:f`omia, County of Los Arr.getes

North Vailey District. Chatsworth Courthouse

9425 Penlieid A`venue,. Chatsworth, CA 91311
Pl.Arr~n'iFF v 1

. iLeSn 1§\/'1 11ch
oEFENoANT . \J
' - LTD
Norice ol= Al.L PuRPosE cAsE`AssichleNT and CASE"““BE’; 7 g
NoTlcE ol= cAsE MANAGEMENT coNFEaENcE ~ g 1 t Uttlt t

Notice of Civil Asslgnment: '» _ ` Dept. F46

. P|aintiff/Attomey(s) for P|aintiff are hereby ORDERED to serve a copy of this Notice on ali parties at the time of
service of the complaint and summons. Cross-compiainants and plaintiffs-in-intervention ar_e ordered to serve a copy on
each new a brought into the case. This case is randomly assigned to "`"»1"`~3‘. .=i`-» - ." for all purposes, in
- ' "~` " of the North Vailey District of this Court. Aii law and discovery matters must be caiendared directly with
the judicial assistant or court assistant in Department F46 by calling (818) _576- 8430 between the hours of 9 .30 a. rri. to

noon and from 1130 p. m. to 4: 00 p. m. Monday through Friday

    
 

Not_ice of Case Management Conference: Ail parties are ordered to appear at a Case Management Conference inn
De@rtment F4B Bat the courthouse address shown above at 8: 30 a. m. on

Date: Ci/(Ci /2

***NOT!CE: READ PAGE 2 OF 2 FOR |MPORTA_NT lNFORNiATiON

You are hereby notified that failure of any party to comply with these Orders may result in
sanctions, including dismissal of the complaint and/or striking a pieading, such as an answer, and
payment of money. This Order continues on Page 2 of 2. ¥ou are further given notice that failure to
comply with the provisions of California Rules of Court, Ruie 3. 110 will result in the setting of an OSC
re sanctions Piease read Ruie 3. 110 and page 2 of this Notice, and ali applicable rules and statutes
mentioned. ~

 

MAY t 42012

Dated; .- ' 1 , _‘ - Hon§ charlaine F. ormedo, supervising Judge

 

CERTIF|CATE OF SERVECE

,the below named Executive Oft`icer/Clerl< of the above-entitled court do hereby certify that i am not a party to this action
and that on i served the Notice of Aii Purpose Case A_ssignment and Notice of Case
vianagement Corif|e'{e'nce qt)r§@é§>h party or counsel named below: .

'_] by personally giving the party notice upon filing of the complaint

/iE]/by depositing in the United States mail at the courthouse at Chatsworth, California, one copy of the original liled
herein' in a separate sealed envelope to each address shown on page 2 herein with postage fully prepaid.

rti'
Date: _ v John A. C|arke, Executive Officer/C|erl<

G. GA\TAN
By ‘ - .Deputy Clerk

Not)’ce of Aii Purpose Case Assi'gnment and Case Management Conference

 

‘ Case 2:12-cv-04814-.]FW-E 'Document 1 Filed_ 06/01/12 Page 17 01~20 Page |D #:57
` scranton coun'r 0F CAeronNIA, cooi\rrir or Los ANGELES
- NoTIcE orr cAsE AssrcrrMnNT-LINHTEDCIVILCASE _

` 121‘- 01 lltt

Case Numbcr

 

Your case iii assigned for ali purposes to the judicial othoer indicated below.

times DEPT.
Hon. John .1. Krairl< . . F4a '2400 g _

 

rt b .‘
Giveqto the PlsintiftiCross-Compiainant/Altomcy ochoo_rd on l |A l l 4 1191 l 21 J(JHNA. CLARKE, Exeoi.iti&§i_'.iicer/Clar:k

ny § 695 ,Depuiy clair

Instructions For Handling Limited Civil Cases

’lhc following critical provisions,.es applicable in the North-Vailey District are cited for your information
PR`{ORITY OVER OTHER RULES: The priority of Chapter Sevcu nfthe I.ASC local Rules over other-` incrmsislent Local __Ru!is is set forth m Ruie .
7.2(1',) dii:reof. l ... .... ".:.':" .- .

‘ E'ro" G moon re ute misuse meant oweammi code season 68616(1) md mcginnis 75 meal meaning or '
Code ofCivil P_io`wdin~e` section 170. 6 challm'gcs.

Im__£E ST¢`N_]`JARDS ; The dmes¢andiirdii may be extended by t_tie court only upon n showing ofgood cause (Cal. Rules of Court, role 3.1111).
_Failurc no meet time standards may result tn the imposition ofsanctions. ¢Locai Rule 7.13).

E)m'cpt for collections cases pmsuant t.o California Rules of Court, rule 3. 740, cases assigned to the ludivtduai C‘niendar Court will be subject to

processing under the following time standmm: *

COLDIAMS: All compia.innrsha'li beserved_ and the proofofsemoc filed within 60 days after filing crime complaint

CROS_S-COMPLMNTS:- Withouf leave of ommtirstbemg obtamed, no ct~oss'oomplahirmaybehled byany party nttcrmeuansweris died Gms»
mmplamtsngamstpamesnewtotheactionmimtbdservednodthoproofofsnrviociiledwithmBOdnysadsrthe§lmgoftheaoss-oomplamx_ Aqm.
complaintagiunstapartywhohasalreadynppearcdmtheactionmustbenccompmiedbypmofofsemoeofthecmss~cmnpiamiatthemneitisti]cd.

roads civ. Pmc., §42850).
CASEMANAGEMENTREVIEW: ACaser _rManngmu:nf' Rcvt'€wwi]] best bytile Court for 130 lstcrthtt_n lSanysa.tlei'thelilingofthe
co'm'pliiint-. (Local Rnle 7. 9(a)(2)).

Pursusnt to California Rules _ofCourt, rules 3.720-3 730, no later than 15 calendar dsysbe.fore the date sctfor CaseMannge-mmtkzview/Confnrencg
eadi party (individim.lly orjoiht;_iy) must his and serve _a Case Mm`\agement Stetmneot using the mandatory .l'udicial Council form No CM-ll[). .

l M(Locai' Rn_.ic 9._:10)_ Ifn responsive pleading is not served within the lime to respond and no emosion ofu'lne has been.grsnted, theplainti'ji
must tile a R_equeot for -Entry ofDefmtitwithin ll_) days utter the time for service has elapsed Faiture to timely tile the Request for Entry ofDet'nult may
result' m tin Order to Show Cause_ being issued as to why sanctions should not be imposed The plade must request default Judginmt on the defaulting `

delicade within40 days utter crm-y ofdeliinit.

NO'I'ILD M_QHONS: Aii regularly noticed motions will be culmde through the resigned depmunmt. Baoh motion daternust be separately
' roscrved end filed with appropriate fees for each motion Mor.i'ons for Smmiiiii'y Judgmmt must be identified at the time ofraseniation. Ali motions

should be iiic`d' in l CI

`- MAHexparteappiioedmis shouldh_enotiwd forthe coumoom. Expiirte. gppearpnoenpplications fordireotsetcmmromiismust
beme 8`.'15a_.m. . iiime 1200 - onthedayofthe`heming. Expormappceinnoe_mart_erssatn

Dept. -F43 ('c.,allunlawfuldetai.nerswhcrcpossossionisshllatissue)mnstbcnobwdforDept. F48 f -,lmtlilcdnt
Cmtgr Lim-CM`, , Roon'i 1200 ` ..nola!r.rthan 8'153~"" . . m.onthednyoftheher`inng. ~

MMM Deln'y Reduction Rules do not apply to uninsured motorist ciaims.' The plaintiff must file a Notioe' 'ot`
Dmignsl:ronwiththeSum§idmnt§ongthemseasenmmmedmotmastdmmmduhmuance€odesccbbnll$w£ , .

utch ‘ 001 (Rev 117/on . NQTICE OF
LAsc~Apprsveéi'osroii . CASE ASSIGNMENT- LtillliTED ClViL CASE

 

` Case 2:12-cv-O4814-.]FW-E Document 1 Filed 06/01/12 Page 18 of 20_ Page |D #:58

 

 

COURT ADR PROGRAMS
ClV|L; '
v Arbit)iatlon (non-binding) (Code Civ. Proc §§ 1141.10~1141.31 Cal. Rules cf Court, rules 3. 810-3. 830. and Looal Rules, rule 3. 252 et
seq

¢ Mediatr'on (Code Civ. Proc. §§ 1775-1775.15, Ca| Rules of Court rules 3. 850-3. 860 3.855-3. 872 and 3. 890-3. 898. Evid. Code §§
1115-1128, and Loca| Rules. rule 3. 252 et seq.)
` o Civil Harass_ment Medlatlon
o Emlneni Domain ivlediatlon (Code Civ. P`mc. §1'25€'.4"0)
o Smal| Claims Mediatlon
= Neutral Evaluation (Local Rules rule 3. 252 et seq. )
c Setllcment Conferonce
o Voluntary Settlement Conference (Local Rules, rule 3 252 et seq. )
o Ren'red Judge Settlement Conference
EAM|LY §nog-custody):
-¢ Arbttratlori (non-bin'dtng) (Fam. Code § 2554 and Locat Rules rule 5.18)
v Medlatlon (Local Rules_ rule 5.18)
v Settlemcnt Conference
o Forénsic carmen P_ublm Aocounem (cPA)
o Spanish Speaklng Settlcment Confererice
PROBATE: y
v Mediation
v Settlement Conferenoe
~ _u_E___uTR_eL_§\LGm)n

Partlea may select an arbitrator_ mediator, or evaluath from the Parly Select Pane| or may hire someone privately at their discretion lf
the parties utilize the Random Seled Pane|, the ADR staff will assign on a random basis the name of one neutral who meets the case

criteria entered on the oourt' s webslte.
count AoBPA'Nr_sLs

Party_Sclect The Party Select Panel consists of arbltrators, mediators. and evaluators who have achieved a specified level of
experience in court-annexed oases. The parties (ool|ectively) are charged $lSO. 00 per hour for the first three hours of

P .
and hearing time. Thereattcr. parties may stipulate in writing for additional hearing time at the rate established by the
` neutral.
Randorn S'e!eot The Random Select Pané| consists of trained arbitrators, mediator‘s. evaluators. and settlement oltioers who make
Panel ' themselves available pro bono as a my of supporting the judicial system. lt ls the policy of the Court that Random

Selec:t Panel neutrals provide three hours hearing time per case on a pro bono basis. Theroafter. parties may stipulate
in writing for additional hearing time at the rate established by the neutral.

ADR AS§t§IANCE v
For assistance regarding ADR. please contact the ADR clerk at the courthouse in which your case.w'as hted.

Anrnnuvrnh 42011 west v 181 measi_er. _661`974~7275
minimum 3100 eia~srs~ases

Comptcii . 1002

 

LAAoRoos Re`v.oi~iz 4 ~ " ‘ ' ‘1 " ` \ ` come or
Mpéd mm ) ALTERNATIVE IJISF’UTEv RES_OLUT\QN (ADR] lNFORMATlON 93 MP:; §-g-’;
storwa ` ~

 

 

 

` Case 2:12-cv-O4814-JFW-E Document 1 ,Filed 06/01/12 Page 19 of 20 Page |D #:59

 

 

 

sueenion collar 01= cAt.rr-'onnln, couirT_YoF Los Ancei_as
ALTERNATNE olsPu'ra nesol.u'rlon (Aon) rnl=oRM_ATroN

For additional ADR information and forms visit the Court ADR web application at www. iasuperlorcourt.org (ciick on ADR). l
The plaintiff/petitioner shall serve a copy of this form on each defendant/respondent along with the complaint (Clvil only).

What is AQR~

Altemat`rve Dispute Resolution (ADR) is the term used to describe all the other options available for settling a dispute which once had to be
settied' 1n court ADR processes. such as arbitration, mediation neutral evaluation, and settlement conference are less formal than a court
process and provide opportunities for parties to reach an agreement using a problem#sotving approach.

There are many different kinds of ADR. li\.il of them utilize a ‘neutiai", an impartial person, to decide the case or help the parties reach an
agreement _

Arhrtratron. `
in arbitration, a neutral person called an "arbitrator° hears arguments and evidence from each side and then decides the ouwotrre of the

dispute. Arbilratr'on ts less fomial than a triai, and the rules of evidence are often relaxed Arb':tration may be either "binding" or
“nonbinding." Br‘nding arbitration means that the parties waive their right to a trial and agree to accept the arbitrators decision as fina|.
Ncnblndr`ng arbitration means that the parties are free to request a trial if they`do not accept the arbitrators decision. `

Cases for Whlch Arbitration May Be Appropriate

Arbitration' rs best for cases where the parties went another person to decide the outcome of their dispute for them but lNould like to
avoid the fonnaiity, time. and expense of a tn'ai. it may also be appropriate for complex matters where the parties want a decision-
makerwho has training or experience in the subject matter cf the dispute

Cases for Whlch Arbltmtion May_____ Net Be Approprlate '

if parties want to retain control over how their dispute is resolved. arbitration particularly binding arbitrationl is not amopn'ate in
binding arbitration, the parties generally cannot appeal the arbitrators award, even if it' rs not supported by the evidence orthe law
Even' rn nonbinding arbitration if a party requests a trial and does not receive a more favorable result at trial than rn arbitrationl

there may be penalties

Medtation: ` '
in mediation, a neutral person called a “media`tcr' helps the parties try to reach a mutually acceptable resolution of the dispute. The, _
mediator does not decide the dispute but helps the parties communicate so they _mn try to settle the dispute themselves Media§on leaves

control of the outcome with the parties

Cases for Whtch ltdedlatton May Be Appropriate

Mediation may be particularly useful when parties have a dispute between or among famdy members, neighbors or business
partners. Mediation rs also effective when emotions are getting in the way of resolution'. An effective mediator mn hear the
parties out and help them communicate with each other in an effective and nondestructive manner.

Cases for Whlch Medlation May_ N_ot Be Approprlate
Mediation may not be effective if one of the parties is unwilling to cooperate or compromise Mediaiion also may not be effective if
one ofthe parties has a signiiicant advantage in power over the omer. Therefore, it may not be a good choice if the parties have a

history of abuse or victimization

Neutral Evaluation:
|n neutral evaluation, each party gets a chance to present the case to a neutral person called an evaluator.' The evaluator then gives an

opinion on the strengths and weaknesses of each party's evidence and arguments and about how the dispute could be molved. The
evaluator° rs often an expert in the subject matter of the dispute. Allhough the evaluator’s opinion is not binding, the parties typically use it
as a basis for trying to negotiate a resolution cf the dispute

Casm for Whlch Neutrat Evaluation May Be Appropriate
Nelutrai evaluation may be_ most appropriate' 1n mses in which there are technical issues that require special eaq:renise to resolve or

the only significant rssue in th`e case is the amount of damages.

. Ca_ees for W_hich Nsutral Evaluat_ion lt_l_iay_ th Be Approprlate- ` .
' Net.il:rai evaluation rriay not be appropriate when there are slgn_itimnt personal o`r emotional barriers to resolving the dispute
Setdemant Con_fer'rence: ` ` `
,A settlement conference may be either mandatory or voluntary. iri _both types of settlement conferences the. parties and their attorneys
` 'meet with a judge or a neutral person called a "settlement officer" to discuss possible settlement of their dispute." The iudgeorsetttement
officer does not make a decision rn the case but assists the parties in evaluating the _'s_trengti`i`s and weaknesses of the case and 1n
negotiating a settiémant. Settlement conferences are appropriate rn any case where _sét`tiem'ent is an option. Mandatory seitiem`e_nt'_
conferences are often held close to the date a case is set for tn'ai. . _ . _

LAAon`oos n .-01-12 v - ` . _ ' ' ' ' 'car.nur arcata-mr .` `
l Y&a?;!opédz'om ) ALTERMA'DVE DISPUTE RESDLUT|ON (ADR_) INFQRMA“ON 95 . P.Bg; ?~Y;
. am 56 ' _ r. ~ .

 

 

LAW OFFICES oF TIMOTHY P. JoHNsoN

' Case 2

. L).) l\)

\]C\Ul-|>

10
11
12
13
14
15
16
17
13
19
20
21
22
23
24
25

26

27
28

 

 

12,-CV-O4814-.]FW-E Document 1 Filed 06/01/12 Page 20 of 20 Page |D #:60

Keshishyan v_. LTD Fz`nczncz`al Servz'ces, L.P.
USDC Case No.

 

CERTIFICATE OF SERVICE
STATE OF CALIFORNIA, COUNTY ()F ORANGE

l am employed 111 the County of Orange, State of California. 1 am over the age
of` 18 and not a party to the Within action; my business address ls 1970 Old Tustin
Avenue, Second Floor, Santa Ana, California 92705.

On May 30, 2012, 1 served a true copy of the N()TICE OF REMOVAL on all
interested parties in this action b y

[ ] By personally delivering it to the person(s) indicated below in the
manner as provided in FRCP S(B);

_[ X] By depositing it in the United States mail in a sealed envelope With the
postage thereon hilly prepaid to the following:

Nicholas J. Bontrager, Esq.

LAW OFFICES OF TODD M. FRIEDMAN, P.C.
369 S. Doheny Dr. Suite 415

Beverly Hills, CA 902 ll

[ ] By overnight delivery using an envelope or package provided by the
overnight service carrier and addressed to the following:

[ ] By ECF: On this date, 1 electronically filed the document(s) vvith' the
Clerk of the Court using the Cl\/I/ECF system, Which sent electronic notification of
such filing to the following:

l declare that l am employed in the office of a member of the Bar of this Court,
at Whose direction the service Was made.

EXECUTED on l\/lay 30, 2012 at Santa Ana, California

 

 

"'/TTMHP JoPHgsoN \ t

_3_
NOTICE OF REMOVAL

 

